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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

RAS Crane, LLC                                      CASE NO.: 18-26860-ABA
10700 Abbott's Bridge Road, Suite 170
Duluth, GA 30097                                    CHAPTER 13
Telephone Number 470-321-7112
Attorneys For Secured Creditor

Harold Kaplan, Esq. (HK-0226)                       Objection to Confirmation of Debtor's
                                                    Chapter 13 Plan
In Re:
Mitchell A Sands,
       Debtor.

        OBJECTION TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN
U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR BANC OF AMERICA
FUNDING 2009-FT1 TRUST, MORTGAGE PASS-THROUGH CERTIFICATES, SERIES
2009-FT1 ("Secured Creditor”), by and through its undersigned counsel, objects to confirmation
of Debtor’s Chapter 13 Plan (DE # 2), and states as follows:
   1. Debtor, Mitchell A Sands, (“Debtor”), filed a voluntary petition pursuant to Chapter 13 of
       the Bankruptcy Code on August 22, 2018.
   2. Secured Creditor holds a security interest in the Debtor’s real property located at 101
       COUNTRY CLUB DR, LINWOOD, NJ 08221, by virtue of a Mortgage recorded on
       January 24, 2003 in Book 9600, at Page 3008574 of the Public Records of Atlantic
       County, NJ. Said Mortgage secures a Note in the amount of $300,000.00.
   3. The Debtor filed a chapter 13 plan on August 22, 2018.
   4. The Plan fails to mention the total amount of arrears owed. It is anticipated that Secured
       Creditor’s claim will show the pre-petition arrearage due Secured Creditor is $809.26.
       Therefore, the Plan is not in compliance with the requirements of 11 U.S.C. §§
       1322(b)(3) and 1325(a)(5) and cannot be confirmed. Secured Creditor objects to any plan
       which proposes to pay it anything less than $809.26 as the pre-petition arrearage over the
       life of the plan.




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   5. The Plan does not appear feasible due to inadequate treatment of Secured Creditor’s
      claim. Thus, the plan violates the provisions of 11 U.S.C. § 1325(a)(3) and cannot be
      confirmed.


      WHEREFORE, Secured Creditor respectfully requests this Court sustain the objections
      stated herein and deny confirmation of Debtor’s Plan, and for such other and further relief
      as the Court may deem just and proper.
                                           RAS Crane, LLC
                                           Attorney for Secured Creditor
                                           10700 Abbott's Bridge Road, Suite 170
                                           Duluth, GA 30097
                                           Telephone Number 470-321-7112

                                           By: /s/Harold Kaplan
                                           Harold Kaplan, Esquire
                                           NJ Bar Number HK-0226
                                           Email: hkaplan@rasnj.com




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RAS Crane, LLC                                      CASE NO.: 18-26860-ABA
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Duluth, GA 30097                                    CHAPTER 13
Telephone Number 470-321-7112
Attorneys For Secured Creditor
                                                    Objection to Confirmation of Debtor's
Harold Kaplan, Esq. (HK-0226)                       Chapter 13 Plan

In Re:
Mitchell A Sands,
       Debtor.


                              CERTIFICATION OF SERVICE

   1. I, Harold Kaplan, represent U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE
      FOR BANC OF AMERICA FUNDING 2009-FT1 TRUST, MORTGAGE
      PASS-THROUGH CERTIFICATES, SERIES 2009-FT1 in this matter.
   2. On 8/31/2018, I caused a copy of the following pleadings and/or documents to be sent to
      the parties listed in the chart below.
   3. I certify under penalty of perjury that the above documents were sent using the mode of
      service indicated.

   8/31/2018
                                               RAS Crane, LLC
                                               Attorney for Secured Creditor
                                               10700 Abbott's Bridge Road, Suite 170
                                               Duluth, GA 30097
                                               Telephone Number 470-321-7112

                                               By: /s/Harold Kaplan
                                               Harold Kaplan, Esquire
                                               NJ Bar Number HK-0226
                                               Email: hkaplan@rasnj.com



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  Name and Address of Party Served     Relationship of Party to the    Mode of Service
                                      Case
 Thomas E. Dowey                      Attorney for Debtor              [ ] Hand-delivered
 Law Office of Thomas Dowey                                            [x] Regular mail
 1423 Tilton Road                                                      [ ] Certified Mail/RR
 Suite 8                                                               [ ] E-mail
 Northfield, NJ 08225                                                  [x] Notice of Electronic Filing
                                                                      (NEF)
                                                                       [ ] Other
                                                                      ___________________________
                                                                       (as authorized by the court*)
 Mitchell A Sands                     Debtor                           [ ] Hand-delivered
 101 Country Club Drive                                                [x] Regular mail
 Linwood, NJ 08221                                                     [ ] Certified Mail/RR
                                                                       [ ] E-mail
                                                                       [ ] Notice of Electronic Filing (NEF)
                                                                       [ ] Other
                                                                      ___________________________
                                                                       (as authorized by the court*)
 Isabel C. Balboa                     Trustee                          [ ] Hand-delivered
 Chapter 13 Standing Trustee                                           [x] Regular mail
 Cherry Tree Corporate Center                                          [ ] Certified Mail/RR
 535 Route 38 - Suite 580                                              [ ] E-mail
 Cherry Hill, NJ 08002                                                 [x] Notice of Electronic Filing
                                                                      (NEF)
                                                                       [ ] Other
                                                                      ___________________________
                                                                       (as authorized by the court*)
                                      U.S. Trustee                     [ ] Hand-delivered
 U.S. Trustee                                                          [x] Regular mail
 US Dept of Justice                                                    [ ] Certified Mail/RR
 Office of the US Trustee                                              [ ] E-mail
 One Newark Center Ste 2100                                            [x] Notice of Electronic Filing
 Newark, NJ 07102                                                     (NEF)
                                                                       [ ] Other
                                                                      ___________________________
                                                                       (as authorized by the court*)




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